     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 1 of 34      1


 1                 IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
 2                   - - - - - - - - - - - - - - - x
      THE UNITED STATES OF AMERICA,
 3                                       Criminal Action No.
                    Plaintiff,           1:21-cr-00255-RC-1
 4                                       Tuesday, November 30, 2021
      vs.                                12:05 p.m.
 5
      EMMA CORONEL AISPURO,
 6
                    Defendant.
 7    - - - - - - - - - - - - - - - x
      ____________________________________________________________
 8
                    TRANSCRIPT OF SENTENCING HEARING
 9             HELD BEFORE THE HONORABLE RUDOLPH CONTRERAS
                      UNITED STATES DISTRICT JUDGE
10    ____________________________________________________________
      APPEARANCES:
11    For the United States:       ANTHONY JOHN NARDOZZI, ESQ.
                                   KATHARINE ANN WAGNER, ESQ.
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14
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22
      Court Reporter:                   Lisa A. Moreira, RDR, CRR
23                                      Official Court Reporter
                                        U.S. Courthouse, Room 6718
24                                      333 Constitution Avenue, NW
                                        Washington, DC 20001
25                                      202-354-3187
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 2 of 34       2


 1                           P R O C E E D I N G S

 2                THE COURTROOM DEPUTY:      This is Criminal Action

 3    21-255, United States vs. Emma Coronel Aispuro.

 4                For the United States, I have Anthony Nardozzi and

 5    Kate Wagner.

 6                For Emma Aispuro, I have Jeffrey Lichtman and

 7    Mariel Colon Miro.

 8                Our probation officer today is Sherry Baker, and

 9    our court reporter is Lisa Moreira.        All parties are

10    present.

11                THE COURT:    All right.    Are we ready to get

12    started?

13                MR. LICHTMAN:    Yes, Your Honor.

14                MR. NARDOZZI:    Yes, Your Honor.

15                THE COURT:    Okay.    Ms. Aispuro and counsel, have

16    you reviewed the amended presentence report as revised

17    following the defense's and the government's submissions?

18                MR. LICHTMAN:    Yes, Your Honor, we have.

19                MR. NARDOZZI:    Yes, Your Honor.

20                THE COURT:    And any additional objections?

21                MR. LICHTMAN:    No.   They're all accounted for.

22                MR. NARDOZZI:    Same for the government, Your

23    Honor.

24                THE COURT:    Okay.    So under Federal Rule of

25    Criminal Procedure 32(i)(3)(A), the Court will accept the
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 3 of 34         3


 1    presentence report as its findings of fact of issues not in

 2    dispute.

 3                This case falls within the Sentencing Reform Act

 4    of 1984 in which Congress created the United States

 5    Sentencing Commission which has issued detailed guidelines

 6    for judges, such as myself, to consider in determining the

 7    sentence in a criminal case like this.         The Commission has

 8    set sentencing ranges for specific offenses, and those

 9    ranges are contained in the guidelines manual.

10                However, in light of the Supreme Court's decision

11    in Booker, the guidelines are not mandatory.          They are

12    advisory but in the typical case must be consulted by the

13    Court in determining the appropriate sentence.          Therefore,

14    under those procedures, a Court assesses and determines the

15    proper sentence by reference to and in consideration of the

16    guidelines in the first instance, but the guidelines are

17    treated as advisory, not mandatory, and there's no

18    presumption that the guidelines sentence is the correct

19    sentence.    The guidelines are considered along with all the

20    other relevant factors under the sentencing statute 18 USC

21    3553(a).

22                The defendant has pled guilty to a three-count

23    information:     Count 1, conspiracy to distribute heroin,

24    cocaine, marijuana, and methamphetamines for unlawful

25    importation to the United States; Count 2, conspiracy to
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 4 of 34           4


 1    launder money instruments; Count 3, engaging in transactions

 2    and dealings in properties of a designated significant

 3    foreign narcotics trafficker.

 4                As reflected in the presentence report, in

 5    particular the amended one, in the guidelines calculation

 6    using the 2018 manual all counts are grouped because they

 7    all involve the same victim, the United States, and two or

 8    more acts of transactions connected by a criminal objective

 9    or constituting part of a common scheme or plan.           Thus, the

10    offense level applicable for this group is that for the

11    highest offense level of the group.        Here that is the money

12    laundering count that applies, the underlying offense for

13    which the laundered funds are derived guidelines, which is

14    the conspiracy to distribute heroin, cocaine, marijuana, and

15    methamphetamines for unlawful importation count.

16                The parties have attributed the following weights

17    to the conspiracy:      cocaine, 450 kilograms; heroin, 90

18    kilograms; methamphetamine, 45 kilograms; marijuana, 90,000

19    kilograms, which results in a total converted drug weight of

20    360,000 kilograms.      That results in a base offense level of

21    38, but under the adjustment set forth in the presentence

22    report if the resulting offense level is greater than 32 and

23    the defendant receives the minimum participant four-level

24    reduction, which she does, the base offense level is reduced

25    to 32.
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 5 of 34        5


 1                So starting with 32 as the base offense level,

 2    there's a four-level downward adjustment for minimal

 3    participant in criminal activity.        There's two additional

 4    points because the defendant is convicted of 18 USC 1956,

 5    which is the money laundering count, resulting in an

 6    adjusted offense level of 30.

 7                The defendant is also entitled to the safety valve

 8    adjustment because she has met the criteria under 18 USC

 9    3553(f) and the Sentencing Guidelines Section 5C1.2, thus

10    she is entitled to a further two-level reduction pursuant to

11    Sentencing Guideline 2D1.1(b)(18), which results in an

12    adjusted offense level of 28, and the safety valve

13    adjustment also gets her out from under the 10-year minimum.

14                Three levels of a downward adjustment for

15    acceptance of responsibility, two levels for clear

16    demonstration of acceptance of responsibility, and an

17    additional level on the government's motion, which I grant,

18    for assistance in investigation by timely provision of

19    information concerning her involvement and by timely

20    notification of intent to enter a guilty plea.          With that

21    three-level decrease it results in a total offense level of

22    25.

23                Defendant has no prior criminal convictions

24    resulting in no criminal history points, which puts her in

25    the Criminal History Category Roman numeral I.          The
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 6 of 34        6


 1    guidelines range for imprisonment based on a total offense

 2    level of 25 and a criminal history category of Roman numeral

 3    I is 57 to 71 months.

 4                Defense counsel, are there any objections to those

 5    calculations?

 6                MR. LICHTMAN:    No, Your Honor.

 7                THE COURT:    Any from the government?

 8                MR. NARDOZZI:    No, Your Honor.

 9                THE COURT:    All right.    As I've said under the law

10    following Booker, the guidelines are advisory in this case,

11    but they're considered fully by the Court along with all the

12    other relevant factors under 3553(a) in determining the

13    proper sentence.

14                Would the government like to address the Court

15    regarding sentencing?

16                MR. NARDOZZI:    Yes, Your Honor.      Thank you.

17                First, Your Honor, regarding the offense itself,

18    I'd like to incorporate the sentencing memorandum --

19                THE COURT:    Can you go slow, Mr. Nardozzi, so the

20    court reporter can keep up.

21                MR. NARDOZZI:    Sure.    I'd like to incorporate the

22    sentencing memorandum as well as the statement of facts that

23    was previously filed --

24                THE COURT:    Of course.

25                MR. NARDOZZI:    -- before the Court at the time of
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 7 of 34          7


 1    the guilty plea.

 2                Your Honor, as outlined in the papers filed with

 3    the Court, the defendant's conduct was carried out in

 4    support of her husband, Joaquin Guzman Loera, also known as

 5    El Chapo, and the drug trafficking organization that he

 6    helped to lead, which we know is the Sinaloa Cartel.           Most

 7    notably, after Guzman was arrested in Mexico in February

 8    2014, the defendant communicated messages from him while he

 9    was in custody.     Many of those messages were in the form of

10    letters, letters in which Guzman painstakingly directed his

11    subordinates to collect drug debts, to move drugs and

12    weapons, and to carry out other acts to advance the aims of

13    the Sinaloa Cartel.      Thanks to the defendant's assistance in

14    this regard, Guzman was able to maintain his leadership

15    position in the cartel even while incarcerated in a Mexican

16    prison.

17                At Guzman's direction, the defendant worked with

18    others within the cartel, including Guzman's sons, to help

19    plan Guzman's eventual escape from prison via an underground

20    tunnel.    The defendant moved drug proceeds in the form of

21    bulk cash to help finance tunnel construction and she

22    arranged for a GPS watch disguised as a food item to be

23    delivered to Guzman while he was in custody via a prison

24    guard.    That GPS watch was used to mark the location of

25    Guzman's cell within the prison so that the tunnel engineers
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 8 of 34        8


 1    would know where to design the tunnel to end.          This was a

 2    significant architectural and engineering feat, and it

 3    required many, many moving parts and a lot of work.

 4                 And all of these efforts did work.       Guzman

 5    eventually escaped from a Mexican prison in July 2015 via

 6    the underground tunnel that the defendant worked with others

 7    to construct, and he resumed his activities as the leader of

 8    the Sinaloa Cartel.      These efforts and the other efforts

 9    described in more detail in the sentencing papers were

10    carried out by the defendant in support of and based upon

11    the orders of Guzman.

12                 The overall effect of the defendant's criminal

13    conduct was significant, particularly as it related to the

14    infamous prison escape.      Additionally, the messages she

15    passed on on Guzman's behalf to his subordinates furthered

16    the criminal objectives of the Sinaloa Cartel, and for these

17    reasons a sentence of incarceration is both appropriate and

18    necessary.

19                 In rendering sentencing recommendations, Your

20    Honor, the government also has to balance factors that are

21    unique to each defendant vis-a-vis his or her criminal

22    conduct.    In light of the conduct I've just described and

23    the conduct laid out in the sentencing papers, the

24    government is recommending a sentence of 48 months today.

25    This would constitute a downward variance of nine months
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 9 of 34         9


 1    from the low end of the guidelines range that the Court just

 2    described, and in doing so the government considered a

 3    number of factors, which I'll lay out.

 4                First, as reflected in the guidelines

 5    recommendation, while the overall effect of the defendant's

 6    conduct was significant, the defendant's actual role was a

 7    minimal one.     The defendant acted primarily in support of

 8    her husband.     The defendant acted upon his orders, which, in

 9    turn, furthered the interest of the Sinaloa Cartel.            The

10    defendant was not a leader, organizer, boss, or other type

11    of a manager.     Rather, she was a cog in a very large wheel

12    of a very powerful criminal organization and her primary

13    significance on a criminal level was her proximity to that

14    organization's leader.      This combined with the defendant's

15    lack of a prior criminal record were considerations for the

16    government in rendering its recommendations today.

17                Second, after the defendant's arrest earlier this

18    year in February, the defendant quickly accepted

19    responsibility for her criminal conduct.

20                Procedurally, the defendant was arrested on a

21    warrant pursuant to a criminal complaint.         Defendants that

22    are arrested on a warrant pursuant to a criminal complaint

23    have a right to either proceed to a preliminary hearing or

24    to have the government indict them.        This defendant waived

25    those rights as well as her right to a trial by jury, and
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 10 of 34      10


 1     she did so quickly.     She entered a guilty plea to an

 2     information in June of this year.        In doing so, the

 3     defendant saved the government the considerable time and

 4     resources that would have been required to engage in

 5     adversarial proceedings against her.

 6                The defendant was certainly familiar with some of

 7     the evidence that the government was prepared to use at

 8     trial against her.     This defendant attended each day of the

 9     trial that her husband took part in in 2018 to 2019, and she

10     was present as portions of the evidence presented against

11     her husband that also would have implicated her were

12     presented in court.     Knowing this, the defendant opted to

13     take accountability for her actions, and she did so quickly

14     before we had to expend resources to prepare for so much as

15     a preliminary hearing or a grand jury presentment let alone

16     a jury trial.    And the government took that into

17     consideration in making its recommendation as well.

18                Third, the defendant has agreed to voluntarily

19     forfeit the remaining proceeds of her criminal activity to

20     the government in the form of just under $1.5 million, and,

21     Your Honor, the government presented a motion of forfeiture

22     order to you as well, and we'd ask you to sign it today.

23                THE COURT:    I will sign it.     One question I had

24     about that was that the papers indicate that that was to be

25     paid before the sentencing.       Has that occurred?
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 11 of 34           11


 1                MR. NARDOZZI:     It has, Your Honor.

 2                THE COURT:    Okay.

 3                MR. NARDOZZI:     Yes.   The amount of forfeiture,

 4     Your Honor, from the government's perspective is not

 5     significant.    It's -- what is significant is the defendant's

 6     agreement in subsequent surrender of funds.         The government

 7     views that as a reflection of the defendant's willingness to

 8     accept responsibility and to be accountable for her actions.

 9                Finally, Your Honor, the defendant, as the Court

10     acknowledged, has moved for a safety valve reduction.           This

11     is a common sentencing consideration to which the government

12     does not object based upon the defendant's criminal history,

13     which does not include any prior offenses, the defendant's

14     role in the offenses with which she's charged was not as a

15     leader or organizer, and the lack of violence carried out by

16     the defendant.

17                Finally, as the Court knows, the safety valve

18     provision requires that the defendant truthfully and fully

19     acknowledge his or her criminal conduct.         In return, a

20     defendant can seek a downward variance in the sentencing

21     guidelines as well as an opportunity to be sentenced below a

22     mandatory minimum here.      The defendant fully acknowledged

23     her criminal conduct and as a result meets all of the

24     criteria for the safety valve from the government's

25     perspective.
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 12 of 34       12


 1                 Based on all of those factors, Your Honor,

 2     balancing the defendant's criminal conduct against her lack

 3     of a criminal history, her swift and fulsome acceptance of

 4     her responsibility for her actions, the government believes

 5     that a sentence of incarceration is appropriate.          The

 6     government's request for 48 months of incarceration imposes

 7     a sentence that is sufficient but not greater than necessary

 8     to reflect the seriousness of the offense, promote respect

 9     for the law, and to provide just punishment for the

10     defendant's criminal conduct.

11                 THE COURT:   All right.    I have a few questions for

12     you.

13                 MR. NARDOZZI:    Yes, Your Honor.

14                 THE COURT:   In your papers, there's a reference to

15     the time when Mr. Guzman was in the Altiplano Prison the

16     defendant conveyed messages on his behalf.         In the papers

17     there's a reference to some of those messages involving

18     violence.    You didn't address that today.       But for the

19     messages that she conveyed involving orders to commit acts

20     of violence, do you know -- does the government have any

21     information as to whether anyone was harmed as a result of

22     those orders?

23                 MR. NARDOZZI:    Your Honor, the government doesn't

24     have any information regarding specific harm related to

25     those orders.    What I can tell the Court is that the
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 13 of 34       13


 1     messages that were passed related to acts of violence were

 2     passed in the form of letters that Guzman wrote to his

 3     primary subordinate that worked directly underneath him.

 4                 It's not necessarily certain that the defendant

 5     was necessarily privy to every part of the messages that

 6     were passed to him.      She was simply a courier of those

 7     messages from Guzman to his primary subordinate.

 8                 THE COURT:    Is it safe to assume, given the

 9     structure of the organization, that -- and the resources

10     that Mr. Guzman had access to even while in prison, that if

11     the defendant had not couriered those orders someone else

12     would have?

13                 MR. NARDOZZI:    Your Honor, that's a difficult

14     question to answer.      You know, this defendant maintained a

15     position of trust with Mr. Guzman.        She was his wife.    I

16     don't know -- I can't speak for what was in Mr. Guzman's

17     mind, but he chose her to move those messages to the people

18     that work for him.

19                 THE COURT:    Okay.   Let me ask you, your papers

20     don't address a fine at all.       The presentence report has no

21     evidence of any assets in the defendant's name, but yet she

22     was able to get most of the resources to get $1.5 million

23     together.    Does the government have any position on

24     imposition of a fine?

25                 MR. NARDOZZI:    Your Honor, we defer to the Court
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 14 of 34        14


 1     on imposition of a fine.

 2                 THE COURT:    Okay.   Do you have any insight on an

 3     ability to pay the fine beyond what's in the presentence

 4     report?

 5                 MR. NARDOZZI:    Your Honor, based upon what's in

 6     the presentence report combined with the fact that we were

 7     able to have the defendant turn over $1.5 million to us, I

 8     don't believe there is an ability to pay any fine.

 9                 THE COURT:    Okay.   And, you know, I've had now a

10     group of Sinaloa Cartel defendants, all of whose situations

11     are quite different than the defendant's, but do you want to

12     point me in the direction of any defendants that have either

13     been before me or elsewhere that you think might be apt

14     comparators for purposes of sentencing?

15                 MR. NARDOZZI:    I do, Your Honor, but if we can

16     have a brief sidebar?

17                     (Pause)

18                 THE COURT:    I don't know how we are physically

19     going to be able to do that.       I'll withdraw my question

20     then.   I've done my research on that.

21                 All right.    And that's the only other question I

22     had.    Thank you, Mr. Nardozzi.

23                 MR. NARDOZZI:    Thank you, Your Honor.

24                 THE COURT:    Mr. Lichtman.

25                 MR. LICHTMAN:    Thank you, Judge.     Do you want me
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 15 of 34        15


 1     here?

 2                THE COURT:    Over there.

 3                MR. LICHTMAN:     Thank you, Judge.

 4                Obviously the most important point that I think

 5     that really jumps out from the story of Emma Coronel and her

 6     role in this much larger conspiracy was that she met Joaquin

 7     Guzman when she was a minor, when she was 17 years old, and

 8     she married him on her 18th birthday.        And that was really,

 9     as the government's acknowledged, her main role in all of

10     this, which began when she was a very impressionable minor

11     and married to a very powerful man more than three decades

12     older than her.

13                And as noted in the government's factual portion

14     of Ms. Coronel's role, her involvement in this multiyear

15     massive drug trafficking organization was in many ways just

16     being Joaquin Guzman's wife.       She lived in residences that

17     he purchased with drug proceeds, according to the

18     government.    She spent money that Mr. Guzman gave her and

19     that they used to live on all from proceeds of crime.

20                In addition, she assisted Mr. Guzman -- this is

21     the meat of it -- in his escape from the Altiplano Prison

22     after he was arrested in February of 2014.         She met with

23     individuals about the escape.       She passed messages, as we

24     know.   She passed proceeds to others to effectuate this

25     escape.   And in July of 2015 he did escape, was rearrested a
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 16 of 34    16


 1     few months later in January of 2016, and sent to the Cuidad

 2     Juarez Prison.    Ms. Coronel again attempted to help her

 3     husband escape, but he was extradited to the United States

 4     in January of 2017.     Emma was also aware that the drugs from

 5     her husband's organization were flowing into America during

 6     the time that she was involved in it.

 7                For all of these reasons, all parties agree -- and

 8     it's not always the most common thing, that all parties

 9     agree; but we did here -- that Emma deserved the minimal

10     role downward adjustment, which made her guidelines 57 to

11     71.   And that's just the guidelines, and it's obviously a

12     catch-all for many defendants that fit into a 57-to-71-

13     month guideline range.

14                But the guidelines don't reflect the fact that she

15     became involved in this conspiracy after marrying Joaquin

16     Guzman on her 18th birthday.       She obviously was not an adult

17     and -- barely an adult, I suppose, and respectfully her

18     responsibility in this entire multiyear drug trafficking

19     organization should be judged through the lens of how she

20     entered it.    And I think that's really different from I

21     would say almost any defendant that Your Honor has had from

22     this or any other organization, to start as a minor in a

23     sense.   And I suspect it's for those reasons -- you know, we

24     don't get into it with the government, why they make their

25     sentencing recommendations, but I think that in part that
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 17 of 34          17


 1     was the reason, perhaps, why -- I don't mean to speak for

 2     them -- why their recommendation was a nine-month downward

 3     variance from her sentencing guidelines.

 4                But there's also more, Judge, that I have to bring

 5     up that I believe is why she deserves less than not only the

 6     57-to-71-month guideline range but also the 48-month

 7     recommendation:     the danger that she finds herself in due to

 8     the numerous unattributed and anonymous comments from

 9     government agents claiming that she cooperated with the

10     government here.

11                On the day of her arrest an unnamed, quote,

12     federal law enforcement source told the New York Post as

13     well as a website that Ms. Coronel was cooperating with the

14     government, and these comments from unnamed federal sources

15     continued over the summer, this past summer.         And what it's

16     done is that it's made it so I don't know that she ever can

17     go back to her home again in Mexico based on the garbage

18     that was spread by these anonymous federal law enforcement

19     agents.

20                And I want to say this, Judge, and it's important.

21     I'm not castigating this prosecutor or this case agent.

22     and believe me, Judge, if I could, I would.         But I won't

23     because they had nothing to do with it.         I'm certain.   I've

24     known Mr. Nardozzi now for a few years from the El Chapo

25     Guzman case, and he's never been anything but completely
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 18 of 34         18


 1     straight, completely honest; and same thing with the agent,

 2     Mr. McGuire.    There's no question in my mind they had

 3     nothing to do with this.

 4                But they don't control the entire government; but

 5     sadly the government is responsible for this.

 6                So I'm not sure that she can ever go back to her

 7     home.   I don't know that it won't always be a danger to her

 8     because of that.

 9                And the 57-to-71-month guideline range doesn't

10     reflect what was done to her.       Neither does the four-year

11     recommendation, respectfully.       How her life will be affected

12     forever upon her release from prison, she didn't bargain for

13     that in any plea agreement.

14                And imagine, Judge, the day that she's arrested in

15     February of this year finding herself in a prison cell in a

16     foreign country far away from home, and just hours after she

17     is arrested this is all over the press.         Her young children

18     are away from her.     She no longer has any control or the

19     ability to protect them.      That's how her first day in prison

20     started, Judge.     And I don't know if I've ever seen a

21     situation like that, the guilt and the fear that this

22     defendant was experiencing on that day.         Whatever she's done

23     or didn't do, Judge, she certainly didn't deserve that.

24                And in addition, back to the conditions of her

25     incarceration over the past nine months.         They've been
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 19 of 34          19


 1     awful.   Partly because of COVID, which many defendants

 2     appear before Your Honor and have had to deal with COVID

 3     incarceration.    It's horrible.     They don't have visits from

 4     their family and friends for a while.        There is none.      No

 5     ability.

 6                 Well, she hasn't had a single visit from family

 7     and friends in the nine months she's been in.          She doesn't

 8     speak the language.     Her family is in Mexico unable to get

 9     visas from this government, and she's been here alone for

10     nine months.    She's under lockdown 22 hours a day.           As I

11     said, she doesn't speak the language.        One of the two hours

12     that she's free for a large part of the incarceration was in

13     the middle of the night they let her out because they didn't

14     want to disturb the many other prisoners that were in her

15     unit.    So for months she had one free hour during the day,

16     one during the night, and that was all done for her supposed

17     safety, as we were told.      And these are awful conditions for

18     any defendant.    But especially for one who played a minimal

19     role in a conspiracy, it's especially egregious,

20     respectfully.

21                 In addition, as Mr. Nardozzi said, the $1.5

22     million in forfeiture -- and I recognize that it's a drop in

23     the bucket of this drug organization, but it's not a drop in

24     the bucket to her.     It was everything that she could get her

25     hands on.    And I can tell you, Judge -- I've been doing this
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 20 of 34       20


 1     for a lot of time -- I don't know many defendants that have

 2     had a forfeiture, a voluntarily forfeiture.         Usually it's

 3     when they freeze a bank account, and at that point they just

 4     give up the right to the bank account.        To be able to

 5     marshal these assets and get them to America during the

 6     pendency of this case, I don't know that I've ever seen that

 7     happen before.    So it is a big deal.

 8                Obviously the instant acceptance of responsibility

 9     when she was arrested saved the government a lot of time, a

10     lot of effort.    We know how much effort Guzmans can

11     occasionally cause the government.        In this case it was next

12     to nothing.    She immediately accepted responsibility and did

13     the right thing.     As Mr. Nardozzi said, she fulfilled all

14     the requirements of the safety valve where she spoke about

15     her own involvement.     That's what was required.       That's what

16     she did.   Here's where we are at the 57 to 71.

17                What's also not reflected in the guideline range

18     or the four-year recommendation is another 3553(a) factor,

19     which is her life history and the good things that she's

20     done, the humanitarian work, whether it was handing out

21     supplies for victims of an earthquake in Mexico in 2017 or

22     to low-income poor children, sick people.         She's always

23     tried to help others.

24                So after spending nine months in prison, Judge,

25     under the most horrific conditions, the stress, the guilt,
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 21 of 34         21


 1     the pressure, thousands of miles away from her home and her

 2     family in a foreign country, Emma at this point has one

 3     thing on her mind.     And she'll speak to the Court, Judge,

 4     and say she's obviously mortified about the situation.         She

 5     knew what she was getting into, Judge, when she was at the

 6     trial of her husband.      She heard that there was evidence

 7     that implicated her, and nevertheless she still made trips

 8     back and forth to America knowing full well that she could

 9     be arrested.    She still did it.

10                But the one thing that she has on her mind besides

11     making amends for the foolish decisions that she made as a

12     young woman is that she wants to do better for her young

13     children and wants them to know that they should not make

14     the mistakes that she made.       She wants to be a good example

15     for them going forward.

16                And, Judge, for all those reasons, for all that

17     she's gone through in this experience with a husband who she

18     will never get to speak to again, never get to see her

19     children again, it's a difficult situation, as you can

20     imagine.   And Judge, for that I'm not going to ask for a

21     specific sentence, but I would ask for a sentence certainly

22     below the four years.      I think it's merited with all of

23     these factors put together, especially about the fact that

24     her role was primarily as a wife in this situation, and for

25     those reasons I would respectfully request a sentence that's
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 22 of 34       22


 1     tempered with mercy.     Thank you, Your Honor.

 2                THE COURT:    Okay.    You're welcome.     Thank you.

 3     And you said the defendant does wish to address the Court?

 4                MR. LICHTMAN:     She does, Your Honor.

 5                THE COURT:    Okay.    Let's hear from her.

 6                MR. LICHTMAN:     Thank you, Judge.

 7                THE COURT:    Thank you.

 8                THE DEFENDANT:     Good morning.

 9                Your Honor, with all due respect, I address you

10     today to express my true regret for any and all harm that I

11     may have done, and I ask that you and all the citizens of

12     this country forgive me.      I am also a citizen of this

13     country, and for that reason I feel even more shame.

14                I know that you may find it difficult to ignore

15     the fact that I am the wife of Mr. Guzman Loera, and perhaps

16     for this reason you feel that there is need for you to be

17     harder on me.    I pray that you not do that.

18                I am suffering as a result of the pain that I've

19     caused my family by finding myself in the current situation.

20     My family brought me up to know what respect was, gratitude,

21     and honesty, but they also taught me to accept those

22     mistakes that I made.      And for that reason, I am here before

23     you asking for forgiveness.

24                And those are precisely the same values that I

25     wish to teach my daughters.       They are the primary and the
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 23 of 34            23


 1     most important reason why I am here before you, and I accept

 2     the mistakes that I have made, and I am sorry for them.

 3                They were already growing up without the presence

 4     of one of their parents, and for this reason I beg you to

 5     please not allow them to grow up without the presence of

 6     their mother.    And I do appreciate the time that you have

 7     given me and to listen to me.       Emma Coronel Aispuro.

 8                THE COURT:    Thank you.

 9                All right.    We'll get started with the financial

10     issues.   There's no restitution at issue given the nature of

11     the charges.

12                With respect to a fine, the maximum fine under the

13     statute is $10 million.      The guidelines range is $35,000 to

14     $10 million.    I don't intend to impose a fine because the

15     presentence report reflects no information supporting an

16     ability to pay one, and I would be speculating otherwise.           I

17     have no evidence before me that she has an ability to pay a

18     fine.

19                The forfeiture count, there's a consent money

20     judgment in an amount just short of $1.5 million.          I've

21     signed that order, and that will be entered on the docket.

22     My understanding from Mr. Nardozzi's representations is that

23     that amount has already been paid.

24                The Court is to assess the sentencing factors

25     under the sentencing statute, which is 18 USC 3553(a).            The
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 24 of 34   24


 1     Court is to impose a sentence sufficient but not greater

 2     than necessary to comply with the purposes set forth in the

 3     subsection.    I've considered the nature and circumstances of

 4     the offense and the history and characteristics of the

 5     defendant, and I am to impose a sentence that reflects the

 6     seriousness of the offense, promotes respect for the law,

 7     and provides just punishment for the offense.

 8                The offense is a serious one involving

 9     participation in the activities of a large-scale Mexican

10     drug cartel whose importation of narcotics to this country

11     poisons its population.      In particular, defendant

12     participated in a conspiracy involving the Sinaloa Cartel of

13     Mexico.   It is reputed to be one of the world's most

14     powerful and violent drug cartels which is responsible for

15     the distribution of multiton quantities of cocaine and other

16     drugs into the United States.

17                Her role, however, in that organization was

18     primarily that of being the wife of one of the leaders of

19     the organization, Joaquin El Chapo Guzman.         Her

20     participation in the conspiracy was largely that of a

21     supportive wife who passed along messages and orders and

22     arranged for bribes and made other arrangements to improve

23     her husband's conditions of confinement, but, of course, she

24     also enjoyed the use of and helped manage some of the

25     proceeds of the drug trafficking enterprise.
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 25 of 34        25


 1                Importantly, she played an important role in

 2     Guzman's escape from the Altiplano Prison.         In particular,

 3     when defendant visited Guzman in this prison, he used her as

 4     a messenger to convey directions to members of the

 5     organization allowing him to maintain control and order over

 6     the organization despite his imprisonment.         Guzman also

 7     instructed her to facilitate an escape plan utilizing an

 8     underground tunnel.

 9                In that role, the defendant communicated with

10     other members of the organization, including Guzman's four

11     sons, to facilitate the acquisition of land near the prison

12     for the tunnel, the construction of the tunnel, and the

13     financing of the operation through the use of the

14     organization's drug proceeds.

15                She also used such proceeds to bribe prison

16     personnel to improve his prison conditions and facilitate

17     the escape.    Perhaps most dramatically defendant had

18     smuggled to Guzman in the prison a GPS watch disguised as a

19     food item that facilitated the tunnel engineers' ability to

20     tunnel directly under Guzman's cell.        Thus defendant's acts

21     were important to Guzman's successful escape from Altiplano

22     Prison.

23                After Guzman was recaptured and again sent to

24     Altiplano, defendant was again involved in another escape

25     plan and the distribution of funds to achieve those acts.
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 26 of 34     26


 1     This plan was thwarted, however, when Guzman was transferred

 2     to another prison in Juarez that made escape less feasible.

 3     But even while Guzman was held at the Juarez Prison,

 4     defendant was involved in supplying funds that resulted in a

 5     substantial bribe to prison officials to improve Guzman's

 6     prison conditions there.      Thus, Ms. Coronel Aispuro's role

 7     in the organization was to assist her husband but did not

 8     otherwise involve her directly in the cartel's drug

 9     trafficking into the United States, although that was the

10     indirect result of her efforts in support of her husband.

11     Thus, because she aided and abetted the activities of the

12     organization, she did not directly manufacture or distribute

13     controlled substances and, thus, her limited function in the

14     organization merited her mitigating consideration in her

15     guidelines calculations and the application of the safety

16     valve reduction.

17                In order to contextualize the defendant's

18     assistance to her husband, the Court takes into

19     consideration that when their relationship began she was

20     still a minor, and Guzman was several years her elder and

21     already financially successful in the drug trade.

22                Additionally, defendant came from an impoverished

23     family, and her father and brothers were also involved in

24     criminal activity.     Thus the teenage defendant, perhaps

25     naively, considered this relationship to be advantageous to
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 27 of 34         27


 1     her and her family.     Moreover, the Court is mindful that the

 2     defendant is going to have to participate in the raising of

 3     her nine-year-old twins because their father, Guzman, will

 4     not be able to do so given his long-term incarceration.

 5                The Court is to impose a sentence that affords

 6     adequate deterrence to criminal conduct and protects the

 7     public from further crimes of the defendant.         It is

 8     impossible to determine the length of sentence that would be

 9     required as a form of deterrence or to protect the public.

10                With respect to the defendant's personal

11     deterrence, her husband's long-term incarceration makes it

12     highly unlikely she will return to the cartel's work given

13     that her efforts were tied directly to him.

14                With respect to general deterrence, defendant

15     played a minimal role in a very large organization.            The

16     harm to the public is from the activities of the cartel

17     generally, not the defendant individually.         The removal of

18     the defendant from the conspiracy since her arrest has not

19     resulted in any less discernible harm caused by the cartel.

20     In fact, one could make a plausible argument that even the

21     removal of Guzman from the conspiracy has not resulted in a

22     reduction of harm to the public.       There appears to be no

23     shortage of willing replacements to fill defendant's slot in

24     the organization, and the Court is skeptical that any of

25     those prospective replacements would be deterred from
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 28 of 34         28


 1     joining based on whatever sentence I administer here.

 2                  The Court is to provide the defendant with needed

 3     educational or vocational training, medical care, or other

 4     correctional treatment in the most effective manner.           The

 5     defendant already has a college degree and no significant

 6     medical situation has been presented to me requiring special

 7     attention.    And while in BOP custody, as recommended by the

 8     probation office, the Court will recommend that the

 9     defendant participate in the Bureau of Prisons's Parenting

10     Program, which is designed to enhance the participant's

11     relationship with her children while incarcerated.

12                  The Court is to consider the kinds of sentences

13     available.    The defendant has been in custody since

14     February 22, 2021, and of course will receive credit for

15     that time, but I need to point out as well, due to COVID,

16     for the entirety of her custody the conditions in which she

17     has been kept are harsher than what they would have been

18     otherwise and will continue to be harsh for the foreseeable

19     future in whatever Bureau of Prisons institution she is kept

20     due to the pandemic.     Moreover, due to her high-profile

21     position she was subject to even harsher conditions of

22     isolation than other defendants being held were subjected to

23     even in light of the COVID requirements.

24                  The Court is to consider the kinds of sentence and

25     the sentencing range established for the applicable category
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 29 of 34     29


 1     of offense committed by the applicable category of defendant

 2     as set forth in the guidelines.       The Court has considered

 3     the ranges that apply, including the applicable mandatory

 4     minimum of ten years, which is made no longer applicable

 5     because of her entitlement to the safety valve reduction.

 6     No pertinent policy statements issued by the Sentencing

 7     Commission has been brought to my attention.

 8                  The Court is to impose a sentence that avoids

 9     unwarranted sentencing disparities among defendants with

10     similar records who have been found guilty of similar

11     conduct.   No general statistics have been brought to my

12     attention, and I did not seek any from the Sentencing

13     Commission.    The government has recommended a sentence of 48

14     months, which is a few months below the bottom end of the

15     guidelines.

16                  The Court is partially able to compare the

17     defendant to other Sinaloa Cartel defendants that I have

18     sentenced.    In fact, I believe I have sentenced four others.

19     But the other defendants are not directly comparable because

20     in some cases they testified at Guzman's trial and in all

21     instances committed more serious trafficking crimes and were

22     subject to much harsher guidelines ranges.

23                  But the Court can say, however, that in all of the

24     cases but one the Court has imposed a sentence below that

25     recommended by the government, and in this case Ms. Coronel
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 30 of 34       30


 1     Aispuro stands out in that she has no criminal history, she

 2     accepted responsibility for her criminal acts almost

 3     immediately upon arrest, and as part of that acceptance has

 4     turned over to the government nearly $1.5 million as part of

 5     a consent forfeiture order.       As I indicated, there's no

 6     restitution at issue here.

 7                I will now indicate the sentence to be imposed but

 8     will give counsel one more opportunity to make any legal

 9     objections to the factors I've considered under the

10     sentencing statute.

11                Any objections from the defense?

12                MR. LICHTMAN:     No, Your Honor.

13                THE COURT:    From the government?

14                MR. NARDOZZI:     No, Your Honor.

15                THE COURT:    All right.    If Ms. Coronel Aispuro can

16     come to the podium.

17                As I indicated, she has been in custody since

18     February 22nd of 2021 and will receive credit for that time

19     served.

20                It is the judgment of the Court that you, Emma

21     Coronel Aispuro, are hereby sentenced to 36 months on Counts

22     1, 2, and 3 to run concurrently.       You are further sentenced

23     to serve concurrent terms of supervised release of 48 months

24     on Count 1 and 36 months on Counts 2 and 3.

25                You are further ordered to pay a $100 special
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 31 of 34        31


 1     assessment for each count for a total of $300.          The Court

 2     finds that you do not have the ability to pay a fine and

 3     therefore waives imposition of a fine in this case.

 4                The special assessment is immediately payable to

 5     the Clerk of the Court for the U.S. District Court for the

 6     District of Columbia.      Within 30 days of any change of

 7     address, you shall notify the Clerk of the Court of the

 8     change until such time as the financial obligation is paid

 9     in full.

10                Within 72 hours of release from custody, you shall

11     report in person to the probation office in the district to

12     which you are released.      While on supervision, you shall

13     submit to collection of DNA, you shall not possess a firearm

14     or other dangerous weapon, you shall not use or possess an

15     illegal controlled substance, and you shall not commit

16     another federal, state, or local crime.         You shall also

17     abide by the general conditions of supervision adopted by

18     the U.S. Probation Office which will be set forth in the

19     judgment and commitment order, and no additional special

20     conditions are imposed.

21                Counsel, any reason other than those already

22     stated and argued why the sentence should not be imposed as

23     stated?

24                MR. LICHTMAN:     No, Your Honor.

25                THE COURT:    From the government?
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 32 of 34        32


 1                MR. NARDOZZI:     Nothing from the government, Your

 2     Honor.

 3                THE COURT:    Okay.    I'll go ahead and impose it as

 4     stated.

 5                Mr. Nardozzi, I gather that she pled guilty to the

 6     three counts of the information so there are no open counts

 7     that need to be dismissed; is that correct?

 8                MR. NARDOZZI:     No, Your Honor.

 9                THE COURT:    Okay.    Does the defense want to make

10     any recommendations as to place of custody?

11                MR. LICHTMAN:     Judge, we would ask for a

12     recommendation in California.

13                THE COURT:    California.     Any particular facility?

14                MR. LICHTMAN:     Judge, I would ask for -- she is an

15     American citizen so I would ask for near Los Angeles, Your

16     Honor.

17                THE COURTROOM DEPUTY:      I'm sorry?

18                MR. LICHTMAN:     Los Angeles.

19                THE COURT:    All right.    I will make that

20     recommendation.

21                MR. LICHTMAN:     Thank you, Your Honor.

22                THE COURT:    Ms. Coronel Aispuro, you were

23     convicted by plea of guilty.       You can appeal your conviction

24     if you believe that your guilty plea was somehow involuntary

25     or if there's some other fundamental defect in the
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 33 of 34       33


 1     proceedings that was not waived by your guilty plea,

 2     although I doubt that your guilty plea didn't waive a number

 3     of your appellate rights.

 4                You also have a statutory right to appeal your

 5     sentence under certain circumstances, and to the extent you

 6     choose to appeal you have the right to apply for leave to

 7     appeal informa pauperis.      That means without the payment of

 8     costs.   And if you request and qualify, the Clerk of the

 9     Court will prepare and file a notice of appeal on your

10     behalf although I'll note that you're represented by very

11     able counsel that can assist you in that process.

12                Most importantly, with very few exceptions, any

13     notice of appeal must be filed within 14 days of the entry

14     of the judgment, and because the judgment's going to be

15     pretty straightforward, I expect that that will be entered

16     within the next couple of days; so 14 days from that point,

17     if you choose to appeal.

18                Anything else we need to resolve today?

19                MR. LICHTMAN:     Nothing from the defense, Your

20     Honor.

21                MR. NARDOZZI:     Nothing from the government, Your

22     Honor.

23                THE COURT:    Okay.    Ms. Aispuro, good luck to you.

24     I hope that you raise your twins in a different environment

25     than you've experienced to date.       Good luck.    You're
     Case 1:21-cr-00255-RC Document 44 Filed 12/06/21 Page 34 of 34     34


 1     excused.

 2                      (Whereupon the hearing was

 3                      concluded at 12:56 p.m.)

 4

 5                  CERTIFICATE OF OFFICIAL COURT REPORTER

 6

 7                      I, LISA A. MOREIRA, RDR, CRR, do hereby

 8     certify that the above and foregoing constitutes a true and

 9     accurate transcript of my stenographic notes and is a full,

10     true and complete transcript of the proceedings to the best

11     of my ability.

12         Dated this 6th day of December, 2021.

13

14
                                         /s/Lisa A. Moreira, RDR, CRR
15                                       Official Court Reporter
                                         United States Courthouse
16                                       Room 6718
                                         333 Constitution Avenue, NW
17                                       Washington, DC 20001

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